     Case 3:17-cv-06932-MMC Document 29 Filed 02/15/18 Page 1 of 2



 1   Daniel Johnson Jr. (Bar No. 57409)
     Sean P. DeBruine (Bar No. 168071)
 2   Mario Moore (Bar No. 231644)
     Robert G. Litts (Bar No. 205984)
 3   DAN JOHNSON LAW GROUP, LLP
     400 Oyster Point Blvd., Suite 321
 4   South San Francisco, CA 94080
     Telephone: (415) 604-4500
 5   dan@danjohnsonlawgroup.com
     sean@danjohnsonlawgroup.com
 6   mario@danjohnsonlawgroup.com
     robert@danjohnsonlawgroup.com
 7
     Attorneys for Defendant
 8   UNITED MICROELECTRONICS CORPORATION

 9
                          IN THE UNITED STATES DISTRICT COURT
10
                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
                                    OAKLAND DIVISION
12

13    MICRON TECHNOLOGY, INC.,               Case No. 4:17-CV-6932-JSW

14                 Plaintiff,
                                             DECLARATION OF JENNIFER WANG
15          v.                               IN SUPPORT OF DEFENDANT UNITED
                                             MICROELECTRONICS
16    UNITED MICROELECTRONICS                CORPORATION’S MOTION TO DISMISS
      CORPORATION, FUJIAN JINHUA             FOR LACK OF PERSONAL
17    INTEGRATED CIRCUIT CO., LTD., and      JURISDICTION
      DOES 1-10
18                                           Judge: Hon. Jeffrey S. White
                   Defendants.               Courtroom: 5, 2nd Floor
19                                           Hearing date (preliminary): March 23, 2018
                                             Hearing time (preliminary): 9:00 a.m.
20
21

22

23
24

25
26

27

28

     DECLARATION OF JENNIFER WANG IN SUPPORT OF
     UMC’S MOTION TO DISMISS                                Case No. 4:17-CV-6932-JSW
Case 3:17-cv-06932-MMC Document 29 Filed 02/15/18 Page 2 of 2
